
38 So.3d 360 (2010)
STATE of Louisiana
v.
Demond TAYLOR.
No. 2010-KK-1107.
Supreme Court of Louisiana.
June 25, 2010.
Writ granted. The trial court's ruling on the motion to suppress is vacated. The trial court did not apply the correct standard in ruling on this motion to suppress evidence obtained pursuant to a search of a student on school property. This matter is remanded to the trial court for it to reconsider the motion in light of New Jersey v. T.L.O., 469 U.S. 325, 341, 105 S.Ct. 733, 742, 83 L.Ed.2d 720 (1985) (The legality of the search of a student depends upon the reasonableness, under all the circumstances, of the search.)
